      Case 4:12-cr-00014-LPR         Document 310       Filed 08/29/12    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA                                                        PLAINTIFF

vs.                            Case No. 4:12CR00014 SWW

ERIC BALDWIN                                                                  DEFENDANT


                  ORDER MODIFYING CONDITIONS OF RELEASE

       ON THIS DATE, the Defendant appeared before the Court with counsel for a hearing

on the Government’s Motion to Revoke Pretrial Release (DE #293). The Defendant admits,

and the Court finds, that he violated the terms and conditions of his release. The Government

did not request revocation. After consideration of the evidence and the argument of the

parties, the Court hereby modifies the Defendant’s conditions of release to include electronic

monitoring.   The Defendant has one week to make the necessary arrangements for

monitoring.

       SO ORDERED this 29th day of August, 2012.


                                                ___________________________________
                                               UNITED STATES MAGISTRATE JUDGE
